Case 19-34054-sgj11            Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45                          Desc
                                 Main Document     Page 1 of 11


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Counsel for Highland Capital Management, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                §
    In re:
                                                                § Chapter 11
                                                                §
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                                § Case No. 19-34054-sgj11
                                                                §
                                    Reorganized Debtor.
                                                                §

                  REORGANIZED DEBTOR’S WITNESS AND EXHIBIT LIST
                WITH RESPECT TO TRIAL TO BE HELD ON NOVEMBER 1, 2022

             Highland Capital Management, L.P. (the “Reorganized Debtor”) submits the following

witness and exhibit list with respect to the First Omnibus Objection to Certain (A) Duplicate

Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No Liability



1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.




WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45                Desc
                              Main Document     Page 2 of 11



Claims; and (F) Insufficient-Documentation Claims [Docket No. 906] (solely with respect to

Proof of Claim No. 146 Filed by HCRE Partners, LLC), which the Court has set for trial at 9:30

a.m. (Central Time) on November 1, 2022 (the “Trial”) in the above-styled bankruptcy case (the

“Bankruptcy Case”).


A.       Witnesses:

             1. James Dondero;

             2. Matt McGraner;

             3. Mark Patrick;

             4. Barker Viggato, LLP (by deposition designation);

             5. BH Equities, LLC (by deposition designation);

             6. James P. Seery, Jr.;

             7. Any witness designated or called by any other party; and

             8. Any witness necessary for impeachment or rebuttal.

B.       Exhibits:

 Ex. No.                                Exhibit                                 Offered   Admitted
             Debtor’s First Omnibus Objection to Certain (A) Duplicate
             Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D)
     1
             Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-
             Documentation Claims [Docket No. 906]
             Nexpoint Real Estate Partners LLC’S Response to Debtor’s
             First Omnibus Objection to Certain (A) Duplicate Claims; (B)
     2       Overstated Claims; (C) Late-Filed Claims; (D) Satisfied
             Claims; (E) No-Liability Claims; and (F) Insufficient-
             Documentation Claims [Docket No. 1212]
             Deposition excerpts of Dustin Thomas (BH Equities, LLC
     3
             8/4/22 Deposition)
             Deposition excerpts of Mark Barker (Barker Viggato, LLP
     4
             8/5/22 Deposition)




WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45           Desc
                              Main Document     Page 3 of 11



 Ex. No.                              Exhibit                              Offered   Admitted
             Limited Liability Company Agreement, dated as of August
             23, 2018 (Mark Patrick 8/2/22 Deposition Exhibit 2, J.
     5
             Dondero 10/4/22 Deposition Exhibit 2, HCRE 10/11/22
             Deposition Exhibit 2)
             Bridge Loan Agreement dated as of September 26, 2018 (J.
     6
             Dondero 10/4/22 Deposition Exhibit 3)
             First Amended and Restated Limited Liability Company
             Agreement, dated as of March 15, 2019 to be effective as of
             August 23, 2018 (Mark Patrick 8/2/22 Deposition Exhibit
     7       4, BH Equities, LLC 8/4/22 Deposition Exhibit 2, Barker
             Viggato, LLP 8/5/22 Deposition Exhibit 3, J. Dondero
             10/4/22 Deposition Exhibit 9, HCRE 10/11/22 Deposition
             Exhibit 9)
             Proof of Claim #146 of HCRE Partners, LLC (Mark Patrick
     8       8/2/22 Deposition Exhibit 5, J. Dondero 10/4/22 Deposition
             Exhibit 20, HCRE 10/11/22 Deposition Exhibit 20)
             Email from Mark Patrick dated July 28, 2018 to Alex
     9
             McGeoch, Mark Patrick re Available LLC Names

    10       INTENTIONALLY OMITTED


    11       INTENTIONALLY OMITTED

             Email from Mark Patrick dated February 28, 2019 to Tim
             Cournoyer, Freddy Chang, David Klos (cc: various others )
             attaching (i) First Amended and Restated Limited Liability
    12
             Company Agreement and (ii) Redline (Mark Patrick 8/2/22
             Deposition Exhibit 12, J. Dondero 10/4/22 Deposition
             Exhibit 5, HCRE 10/11/22 Deposition Exhibit 5)
             Email chain dated February 28, 2019 – March 4, 2019 re SE
    13
             Multi-Family Holdings LLC: Amended and Restated
             Email chain dated February 28, 2019 – March 4, 2019 re SE
             Multi-Family Holdings LLC: Amended and Restated and
    14
             attaching First Amended and Restated Limited Liability
             Company Agreement
             Email chain dated February 28, 2019 – March 4, 2019 re SE
    15       Multi-Family Holdings LLC: Amended and Restated (Mark
             Patrick 8/2/22 Deposition Exhibit 15)



WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45            Desc
                              Main Document     Page 4 of 11



 Ex. No.                              Exhibit                               Offered   Admitted
             Email from Mark Patrick dated March 4, 2019 to Paul
             Broaddus (cc: Shawn Raver, Rick Swadley) attaching draft of
    16
             First Amended and Restated Limited Liability Company
             Agreement
             Email from Mark Patrick dated March 7, 2019 to Matt
             McGraner (cc: Freddy Chang, Rick Swadley, Paul Broaddus,
    17
             Shawn Raver) attaching latest revisions to First Amended and
             Restated Limited Liability Company Agreement
             Email from Mark Patrick dated March 8, 2019 to Paul
             Broaddus (cc: Rick Swadley, Shawn Raver) re First Amended
    18
             and Restated Limited Liability Company Agreement (Mark
             Patrick 8/2/22 Deposition Exhibit 18)
             Email from Paul Broaddus dated March 8, 2019 to Mark
    19       Patrick (cc: Rick Swadley, Shawn Raver) re Unicorn - LLC
             Agreement
             Email from Paul Broaddus dated March 15, 2019 to Mark
    20
             Patrick re Unicorn Combined Underwriting
             Email from Ben Roby dated March 16, 2019 to Matt
             McGraner, Freddy Chang, Paul Broaddus, and Dusty Thomas
    21       Paul Broaddus (cc: Shawn Raver, Rick Swadley) attaching
             fully executed First Amended and Restated Limited Liability
             Company Agreement (signed via DocuSign)
             Email from Paul Broaddus dated March 18, 2019 to Mark
             Patrick, Shawn Raver (cc: Rick Swadley) attaching fully
    22
             executed First Amended and Restated Limited Liability
             Company Agreement
             Email from Shawn Raver dated October 17, 2019 to Mark
             Patrick, Paul Broaddus attaching fully executed First
    23
             Amended and Restated Limited Liability Company
             Agreement (signed via DocuSign)

    24       INTENTIONALLY OMITTED

             Email from Mark Barker dated September 8, 2019 to Paul
    25       Broaddus, Jae Lee (cc: Ross Kirshner) attaching SE
             Multifamily Holdings LLC 2018 tax return and workbook
             Email dated March 16, 2019 attaching fully executed First
    26       Amended and Restated Limited Liability Company
             Agreement, dated as of March 15, 2019 to be effective as of

WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45          Desc
                              Main Document     Page 5 of 11



 Ex. No.                             Exhibit                              Offered   Admitted
             August 23, 2018 (Mark Patrick 8/2/22 Deposition Exhibit
             28)
             Highland Capital Management L.P.’s Notice of Amended
    27       Subpoena Directed to BH Equities, LLC [Docket No. 3363]
             (BH Equities, LLC 8/4/22 Deposition Exhibit 1)
             Email chain dated October 7-10, 2018 re Unicorn Portfolio
    28
             (BH Equities, LLC 8/4/22 Deposition Exhibit 3)
             Email from Ben Roby dated November 7, 2018 to Paul
    29       Broaddus (cc: Kim Supercynski) re SEMF LLC (BH
             Equities, LLC 8/4/22 Deposition Exhibit 4)
             Email from Paul Broaddus to Dusty Thomas, Ben Roby (cc:
             Matt McGraner) dated March 15, 2019 attaching Contribution
    30       Schedule (BH Equities, LLC 8/4/22 Deposition Exhibit 5,
             J. Dondero 10/4/22 Deposition Exhibit 6, HCRE 10/11/22
             Deposition Exhibit 6)
             Email chain re Unicorn Combined Underwriting (BH
    31       Equities, LLC 8/4/22 Deposition Exhibit 6, HCRE
             10/11/22 Deposition Exhibit 7)
             Email chain dated March 15, 2019 re Unicorn Combined
    32       Underwriting (BH Equities, LLC 8/4/22 Deposition Exhibit
             7, HCRE 10/11/22 Deposition Exhibit 8)
             Email from Paul Broaddus dated March 15, 2019 to Ben
             Roby, Dusty Thomas, Matt McGraner, and Freddy Chang
    33       attaching First AR LLCA of SE Multifamily Holdings LLC
             for execution (BH Equities, LLC 8/4/22 Deposition Exhibit
             8)
             Email chain re First AR LLCA of SE Multifamily Holdings
    34
             LLC (BH Equities, LLC 8/4/22 Deposition Exhibit 9)
             Email from Paul Broaddus dated September 10, 2020 to Matt
    35       Mulcahy (cc: Dusty Thomas) re SE Multifamily Follow Up
             (BH Equities, LLC 8/4/22 Deposition Exhibit 10)
             Email chain dated November 7-19, 2020 re Unicorn Proposed
             Distribution and Detail Schedules (BH Equities, LLC 8/4/22
    36
             Deposition Exhibit 12, HCRE 10/11/22 Deposition Exhibit
             10)
             Email chain dated June 9, 2021 re SE Multifamily Holdings
    37       distribution (BH Equities, LLC 8/4/22 Deposition Exhibit
             13, HCRE 10/11/22 Deposition Exhibit 11)


WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45            Desc
                              Main Document     Page 6 of 11



 Ex. No.                              Exhibit                               Offered   Admitted
             SE Multifamily Holdings LLC 2019 tax return (BH Equities,
    38
             LLC 8/4/22 Deposition Exhibit 14)
             BH Equities, LLC 2020 K-1 (BH Equities, LLC 8/4/22
    39
             Deposition Exhibit 15)
             Highland Capital Management L.P.'s Notice of Amended
    40       Subpoena to Barker Viggato LLP [Docket No. 3417] (Barker
             Viggato, LLP 8/5/22 Deposition Exhibit 1)
             Letter dated July 26, 2022 from Matthew Roberts enclosing
    41       Barker Viggato, LLP’s production of documents responsive to
             Subpoena
             2018 SE Multifamily LLC Equity Roll – GAAP (Barker
    42
             Viggato, LLP 8/5/22 Deposition Exhibit 4)
             2019 SE Multifamily LLC Equity Roll – GAAP (Barker
    43
             Viggato, LLP 8/5/22 Deposition Exhibit 5)
             2020 SE Multifamily LLC Equity Roll – GAAP (Barker
    44
             Viggato, LLP 8/5/22 Deposition Exhibit 6)
             Email from Paul Broaddus dated August 3, 2020 to Mark
             Barker (cc: Tina Thottichira, Ross Kirshner, Kristin Martin)
    45
             re SEMFH (Barker Viggato, LLP 8/5/22 Deposition
             Exhibit 7)
             HCMLP 2018 K-1 (Barker Viggato, LLP 8/5/22 Deposition
    46
             Exhibit 8, J. Dondero 10/4/22 Deposition Exhibit 12)
             HCRE 2018 K-1 (Barker Viggato, LLP 8/5/22 Deposition
    47
             Exhibit 9)
    48       BH Equities, LLC 2018 K-1

    49       Liberty CLO Holdco, Ltd 2018 K-1
             HCMLP 2019 K-1 (Barker Viggato, LLP 8/5/22 Deposition
    50
             Exhibit 12)
    51       HCRE 2019 K-1

    52       BH Equities, LLC 2019 K-1

    53       Liberty CLO Holdco, Ltd 2019 K-1
             E-mail chain dated September 13-14, 2020 re SEMFH
    54       Statement (Barker Viggato, LLP 8/5/22 Deposition Exhibit
             16, HCRE 10/11/22 Deposition Exhibit 17)



WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45            Desc
                              Main Document     Page 7 of 11



 Ex. No.                          Exhibit                                   Offered   Admitted
             HCMLP 2020 K-1 (Barker Viggato, LLP 8/5/22 Deposition
    55
             Exhibit 17)
    56       HCRE 2020 K-1

    57       BH Equities, LLC 2020 K-1

    58       Liberty CLO Holdco, Ltd 2020 K-1
             Email from Mark Patrick dated February 28, 2019 to Shawn
    59       Raver re Unicorn (J. Dondero 10/4/22 Deposition Exhibit 4,
             HCRE 10/11/22 Deposition Exhibit 4)
             Highland Capital Management, L.P.’s Third Amended Notice
    60       of Rule 30(b)(6) Deposition to HCRE Partners, LLC [Docket
             No. 3528] (HCRE 10/11/22 Deposition Exhibit 1A)

    61       INTENTIONALLY OMITTED

    62       Transcript of August 11, 2021 Deposition of Rob Wills

    63       Transcript of August 13, 2021 Deposition of Mark Patrick

    64       Transcript of September 16, 2021 Deposition of Robert Kehr

    65       Transcript of September 17, 2021 Deposition of Ben Selman

    66       Transcript of August 2, 2022 Deposition of Mark Patrick

    67       INTENTIONALLY OMITTED

    68       INTENTIONALLY OMITTED

    69       INTENTIONALLY OMITTED

    70       Transcript of October 4, 2022 Deposition of James Dondero

             Transcript of October 11, 2022 Deposition of HCRE/Matt
    71
             McGraner
             Debtor’s Notice of Rule 30(b)(6) Deposition to NexPoint Real
    72       Estate Partners, LLC f/k/a HCRE Partners, LLC [Docket No.
             1898]
             Debtor's Amended Notice of Rule 30(b)(6) Deposition to
    73
             HCRE Partners, LLC [Docket No. 1965]


WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45            Desc
                              Main Document     Page 8 of 11



 Ex. No.                               Exhibit                              Offered   Admitted
             Debtor's Third Amended Notice of Rule 30(b)(6) Deposition to
    74
             HCRE Partners, LLC [Docket No. 2134]
             Debtor's Motion to Disqualify Wick Phillips Gould & Martin,
    75       LLP as Counsel to HCRE Partners, LLC and for Related Relief
             [Docket No. 2196]
             Debtor's Memorandum of Law in Support of Motion to
    76       Disqualify Wick Phillips Gould & Martin, LLP as Counsel to
             HCRE Partners, LLC and for Related Relief [Docket No. 2197]
             Declaration of John A. Morris in Support of the Debtor's
             Motion to Disqualify Wick Phillips Gould & Martin, LLP as
    77
             Counsel to HCRE Partners, LLC and for Related Relief
             [Docket No. 2198]
             Response to Motion to Disqualify Wick Phillips Gould &
    78       Martin, LLP as Counsel to HCRE Partners, LLC [Docket No.
             2278]
             Debtor's Preliminary Reply in Further Support of Motion to
    79       Disqualify Wick Phillips Gould & Martin, LLP as Counsel to
             HCRE Partners, LLC and for Related Relief [Docket No. 2294]
             Highland’s Supplemental Motion to Disqualify Wick Phillips
    80       Gould & Martin, LLP as Counsel to HCRE Partners, LLC and
             for Related Relief [Docket No. 2893]
             Highland’s Memorandum of Law in Support of Supplemental
             Motion to Disqualify Wick Phillips Gould & Martin, LLP as
    81
             Counsel to HCRE Partners, LLC and for Related Relief
             [Docket No. 2894]
             Declaration of Kenneth H. Brown in Support of Supplemental
             Motion to Disqualify Wick Phillips Gould & Martin, LLP as
    82
             Counsel to HCRE Partners, LLC and for Related Relief
             [Docket No. 2895]
             Response and Brief in Opposition to Highland’s Supplemental
             Motion to Disqualify Wick Phillips Gould & Martin, LLP as
    83
             Counsel to HCRE Partners, LLC and Related Relief [Docket
             No. 2927]
             Supplemental Appendix in Support of NexPoint Real Estate
             Partners, LLC’s Response and Brief in Opposition to Debtor’s
    84
             Supplemental Motion to Disqualify Wick Phillips Gould &
             Martin, LLP [Docket No. 2928]




WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45         Desc
                              Main Document     Page 9 of 11



 Ex. No.                               Exhibit                           Offered   Admitted
             Highland's Reply in Support of Supplemental Motion to
    85       Disqualify Wick Phillips Gould & Martin, LLP as Counsel to
             HCRE Partners, LLC and for Related Relief [Docket No. 2952]
             Hearing Held on November 30, 2021 re: Highland's
             Supplemental Motion to Disqualify Wick Phillips Gould &
    86
             Martin, LLP as Counsel to HCRE Partners, LLC and for
             Related Relief (No Image Available) [Docket No. 3071]
             Order Granting in Part and Denying in Part Highland's
             Supplemental Motion to Disqualify Wick Phillips Gould &
    87
             Martin, LLP as Counsel to HCRE Partners, LLC and for
             Related Relief [Docket No. 3106]
             Highland Capital Management L.P.’s Notice of Subpoena
    88
             Directed to Barker Viggato LLP [Docket No. 3383]
             Highland Capital Management, L.P.'s Notice of Rule 30(b)(6)
    89
             Deposition to HCRE Partners, LLC [Docket No. 3385]
             Highland Capital Management, L.P.’s Amended Notice of
    90       Rule 30(b)(6) Deposition to HCRE Partners, LLC [Docket No.
             3386]
             Highland Capital Management, L.P.'s Second Amended Notice
    91       of Rule 30(b)(6) Deposition to HCRE Partners, LLC [Docket
             No. 3418]
             Highland Capital Management, L.P.’s Notice of Rule 30(b)(6)
    92       Deposition to NexPoint Real Estate Partners, LLC, f/k/a HCRE
             Partners, LLC [Docket No. 3453]

    93       SE Multifamily Holdings: Schedule of Distributions
             Nexpoint Real Estate Partners, LLC f/k/a HRCR Partners,
    94       LLC’s Amended Responses and Objections to Debtor’s
             Second Set of Discovery Requests dated July 8, 2022
    95       SE Multifamily check

             Email chain with Key Bank dated September 27, 2018 re:
    96
             Return of 750K
             Email from Mathew Goetz to David Klos and Kristin Hendrix
    97
             dated November 16, 2018 re Fee Rebate
             Email from Mathew Goetz to David Klos and Kristin Hendrix
    98
             dated November 16, 2018 re wire from Key Bank
             Email from Kristin Hendrix to Corporate Accounting dated
    99
             November 16, 2018 re wire from Key Bank


WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11            Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45          Desc
                                 Main Document    Page 10 of 11



 Ex. No.                                 Exhibit                             Offered   Admitted
             Email from Kristin Hendrix to David Klos and Corporate
   100
             Accounting dated November 16, 2018 re wire from Key Bank
             Email from Kristin Hendrix to David Klos and Corporate
   101
             Accounting dated November 16, 2018 re confirmation of wire
             Email chain dated November 19, 2018 re Opening Balance
   102
             Sheets
             All exhibits identified by or offered by any other party at the
   103
             Trial
             All exhibits necessary for impeachment and/or rebuttal
   104
             purposes
             Any pleadings, reports, or other documents entered or filed in
   105       the Bankruptcy Case or related adversary proceedings,
             including any exhibits thereto

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WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
Case 19-34054-sgj11         Doc 3590 Filed 10/27/22 Entered 10/27/22 17:13:45       Desc
                              Main Document    Page 11 of 11



 Dated: October 27, 2022.               PACHULSKI STANG ZIEHL & JONES LLP

                                        Jeffrey N. Pomerantz (CA Bar No. 143717)
                                        John A. Morris (NY Bar No. 2405397)
                                        Gregory V. Demo (NY Bar No. 5371992)
                                        Hayley R. Winograd (NY Bar No. 5612569)
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                                        Facsimile: (310) 201-0760
                                        Email: jpomerantz@pszjlaw.com
                                                jmorris@pszjlaw.com
                                                gdemo@pszjlaw.com
                                                hwinograd@pszjlaw.com

                                        -and-

                                        HAYWARD PLLC
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                                        Zachery Z. Annable
                                        Texas Bar No. 24053075
                                        ZAnnable@HaywardFirm.com
                                        10501 N. Central Expy, Ste. 106
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                                        Tel: (972) 755-7100
                                        Fax: (972) 755-7110

                                        Counsel for Highland Capital Management, L.P.




WITNESS AND EXHIBIT LIST FOR TRIAL ON NOVEMBER 1, 2022
DOCS_NY:46623.3 36027/003
